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                                               Certificate Number: 00478-CAC-CC-027769183


                                                              00478-CAC-CC-027769183




                    CERTIFICATE OF COUNSELING

I CERTIFY that on July 18, 2016, at 2:50 o'clock PM PDT, Russel D Hiles
received from Springboard Nonprofit Consumer Credit Management, Inc., an
agency approved pursuant to 11 U.S.C. § 111 to provide credit counseling in the
Central District of California, an individual [or group] briefing that complied with
the provisions of 11 U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by telephone.




Date:   July 18, 2016                          By:      /s/Paula Waples for Paula Waples


                                               Name: Paula Waples


                                               Title:   Bankruptcy Supervisor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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               Case 6:16-bk-16877-WJ                               Doc 22 Filed 08/15/16 Entered 08/15/16 18:39:54                                                          Desc
                                                                    Main Document    Page 4 of 55
 Fill in this information to identify your case:

 Debtor 1                   Russel Dennis Hiles, III
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  CENTRAL DISTRICT OF CALIFORNIA

 Case number           6:16-bk-16877-WJ
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $        14,750,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $          1,090,408.38

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $        15,840,408.38

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $          3,657,170.62

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $          4,245,394.28

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $          7,554,010.03


                                                                                                                                     Your total liabilities $             15,456,574.93


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $                 4,758.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $              47,698.50

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

         Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Russel Dennis Hiles, III                                                   Case number (if known) 6:16-bk-16877-WJ

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $            48,000.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $       4,197,394.28

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $          4,245,394.28




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
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                                                                          Main Document    Page 6 of 55
 Fill in this information to identify your case and this filing:

 Debtor 1                    Russel Dennis Hiles, III
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

 Case number            6:16-bk-16877-WJ                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        66876 Gist Road
        Street address, if available, or other description
                                                                                      Single-family home                         Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative
                                                                                  
                                                                                      Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Bend                              OR        97703-0000                        Land                                       entire property?           portion you own?
                                                                                                                                        $12,000,000.
        City                              State              ZIP Code                 Investment property                                        00             $12,000,000.00
                                                                                      Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                      Other     40 acre ranch                    (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.

                                                                                      Debtor 1 only                              Fee simple
        Deschutes                                                                     Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                      At least one of the debtors and another
                                                                                                                                      (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1         Russel Dennis Hiles, III                                                                                      Case number (if known)          6:16-bk-16877-WJ

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        155 Metate Place
        Street address, if available, or other description
                                                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                                                                                      the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                     Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative
                                                                                
                                                                                     Manufactured or mobile home
                                                                                                                                      Current value of the          Current value of the
        Palm Desert                       CA        92260-0000                       Land                                            entire property?              portion you own?
                                                                                                                                            $2,750,000.0
        City                              State              ZIP Code                Investment property                                              0                 $2,750,000.00
                                                                                     Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                     Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.

                                                                                     Debtor 1 only                                   Fee simple
        Riverside                                                                    Debtor 2 only
        County                                                                       Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                     At least one of the debtors and another
                                                                                                                                          (see instructions)

                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                          $14,750,000.00

 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1     Make:         Ford                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                        Who has an interest in the property? Check one
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        Fusion                                           Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:         2013                                             Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                                           Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                             At least one of the debtors and another

                                                                         Check if this is community property                                  $20,000.00                    $20,000.00
                                                                           (see instructions)



  3.2     Make:         Mercedes Benz                                                                                                  Do not deduct secured claims or exemptions. Put
                                                                        Who has an interest in the property? Check one
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        400SL                                            Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:         2015                                             Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                                           Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                             At least one of the debtors and another
         Leased vehicle
                                                                         Check if this is community property                                    Unknown                       Unknown
                                                                           (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                               page 2
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 Debtor 1        Russel Dennis Hiles, III                                                                           Case number (if known)       6:16-bk-16877-WJ

  3.3    Make:       Jeep                                                                                                     Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Wrangler                                   Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2001                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                                    $5,000.00                  $5,000.00
                                                                     (see instructions)



  3.4    Make:       Golf Cart                                                                                                Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                 Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:                                                  Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                                  $10,000.00                 $10,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $35,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    OR Ranch: Furniture, antiques, paintings and collectibles.                                                                  $550,000.00


                                    CA Home: Furniture and bedroom furnishings; audio-visual
                                    system                                                                                                                        $30,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    Smart home system and security system- Oregon Ranch.                                                                        $150,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
     Yes.     Describe.....


Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 3
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                                            CA Home: Books                                                                                                        $30,000.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
     Yes.       Describe.....

                                            Camera equipment                                                                                                      $10,000.00


                                            Firearms                                                                                                                $5,000.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.       Describe.....

                                            OR Ranch: Clothing                                                                                                      $5,000.00


                                            CA Home: Clothing                                                                                                       $5,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

                                            Watches and jewelry.                                                                                                  $30,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                       $815,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
     Yes................................................................................................................

Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 4
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17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                      17.1.    Checking                     Chase                                                                    $0.56


                                                                            Debtor's wife's Bank of America account #
                                      17.2.    Checking                     6651.                                                              $8,507.82


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                   Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                   % of ownership:

                                         Hiles & Associates, LLP
                                         d/b/a Hiles Borgeson, LLP

                                         (Not operating)                                                    100          %                     Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                         Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                      Type of account:                      Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
    Yes. .....................                               Institution name or individual:


                                      Security Deposit: Electric Southern California Edison                                                    $3,400.00


                                      Electric                              Prepayment to SoCal Edison                                         $3,500.00


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............          Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
    Yes.............    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):



Official Form 106A/B                                                 Schedule A/B: Property                                                          page 5
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 Debtor 1       Russel Dennis Hiles, III                                                               Case number (if known)   6:16-bk-16877-WJ


                                529 Accounts for:
                                Debtor's stepduagheter ($11K)
                                Debtor's grandaughter ($34K)
                                Debtor's grandson ($15K)
                                *Not property of the estate pursuant to 11 U.S.C. Section 541(b).                                                    $0.00


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

                                              Copyright/license rights in Debtor's book entitled "We are One. A
                                              photographic celebration of diversity in America".                                                     $0.00


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

                                              Debtor is a licensed attorney with the California State Bar.                                           $0.00


 Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                        Beneficiary:                         Surrender or refund
                                                                                                                                   value:

                                         Homeowners' and property insurance
                                         for Oregon and Palm Desert properties.
                                         No cash value.
                                         Burial insurance policy. No cash value.
                                         Vehicle insurance. No cash value.                    Debtor and wife.                                       $0.00



Official Form 106A/B                                                 Schedule A/B: Property                                                          page 6
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32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.      Describe each claim.........

                                                          Claims for indemnity and contribution against Christopher
                                                          Borgeson.                                                                                                          Unknown


                                                          Claims against Farmers Insurance Exchange, Norton Rose
                                                          Fulbright, LLP, Peter Mason, Stoel Rives, LLP, Amy Edwards
                                                          for breaches of contract re arbitration confidentiality, public
                                                          disclosure of private facts, tortious intereference with
                                                          contract, slander, and slander of title.                                                                           Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $15,408.38


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........
                                             Big Horn golf club membership
                                             (Not a readily saleable asset. Sale requires curing delinquency under
                                             memebership and other contractual contingencies)                                                                            $225,000.00



 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                              $225,000.00

Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 7
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              Case 6:16-bk-16877-WJ                                   Doc 22 Filed 08/15/16 Entered 08/15/16 18:39:54                                                    Desc
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 Debtor 1         Russel Dennis Hiles, III                                                                                              Case number (if known)   6:16-bk-16877-WJ


 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................           $14,750,000.00
 56. Part 2: Total vehicles, line 5                                                                          $35,000.00
 57. Part 3: Total personal and household items, line 15                                                    $815,000.00
 58. Part 4: Total financial assets, line 36                                                                 $15,408.38
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +         $225,000.00

 62. Total personal property. Add lines 56 through 61...                                                 $1,090,408.38                Copy personal property total        $1,090,408.38

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                     $15,840,408.38




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 8
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
               Case 6:16-bk-16877-WJ                          Doc 22 Filed 08/15/16 Entered 08/15/16 18:39:54                                       Desc
                                                              Main Document    Page 14 of 55
 Fill in this information to identify your case:

 Debtor 1                Russel Dennis Hiles, III
                         First Name                         Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                    Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           6:16-bk-16877-WJ
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      155 Metate Place Palm Desert, CA                                                                                           C.C.P. § 704.730
      92260 Riverside County
                                                                     $2,750,000.00                             $175,000.00
      Line from Schedule A/B: 1.2                                                        100% of fair market value, up to
                                                                                             any applicable statutory limit

      2013 Ford Fusion                                                                                                           C.C.P. § 704.010
      Line from Schedule A/B: 3.1
                                                                       $20,000.00                                 $3,050.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      CA Home: Furniture and bedroom                                                                                             C.C.P. § 704.020
      furnishings; audio-visual system
                                                                       $30,000.00                               $30,000.00
      Line from Schedule A/B: 6.2                                                        100% of fair market value, up to
                                                                                             any applicable statutory limit

      Camera equipment                                                                                                           C.C.P. § 704.060
      Line from Schedule A/B: 9.1
                                                                       $10,000.00                                 $8,000.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      Watches and jewelry.                                                                                                       C.C.P. § 704.040
      Line from Schedule A/B: 12.1
                                                                       $30,000.00                                 $8,000.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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 Debtor 1    Russel Dennis Hiles, III                                                                    Case number (if known)     6:16-bk-16877-WJ
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking: Debtor's wife's Bank of                                                                                            C.C.P. § 704.080
     America account # 6651.
                                                                      $8,507.82                                 $3,200.00
     Line from Schedule A/B: 17.2                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                  No
                  Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                                                              Main Document    Page 16 of 55
 Fill in this information to identify your case:

 Debtor 1                   Russel Dennis Hiles, III
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           6:16-bk-16877-WJ
 (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                  If any
 2.1     Bank Of America                          Describe the property that secures the claim:             $1,395,102.00            $2,750,000.00                    $0.00
         Creditor's Name
                                                  155 Metate Place Palm Desert, CA
                                                  92260 Riverside County
         Nc4-105-03-14
                                                  As of the date you file, the claim is: Check all that
         Po Box 26012                             apply.
         Greensboro, NC 27410                      Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

                                 Opened
                                 03/13 Last
                                 Active
 Date debt was incurred          5/03/16                   Last 4 digits of account number        2540


 2.2     Bank Of America                          Describe the property that secures the claim:               $783,134.00           $12,000,000.00                    $0.00
         Creditor's Name
                                                  66876 Gist Road Bend, OR 97703
                                                  Deschutes County
         Nc4-105-03-14
                                                  As of the date you file, the claim is: Check all that
         Po Box 26012                             apply.
         Greensboro, NC 27410                      Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 4
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 Debtor 1 Russel Dennis Hiles, III                                                                         Case number (if know)    6:16-bk-16877-WJ
              First Name                  Middle Name                     Last Name


  Check if this claim relates to a                 Other (including a right to offset)
       community debt

                                Opened
                                09/08 Last
                                Active
 Date debt was incurred         3/30/16                     Last 4 digits of account number        0817


 2.3    De Castro West, et al.                     Describe the property that secures the claim:                 $60,000.00         $2,750,000.00             $0.00
        Creditor's Name
                                                   155 Metate Place Palm Desert, CA
        Attn: Michael Cohen                        92260 Riverside County
        10960 Wilshire Blvd.,
        14th Fl.                                   As of the date you file, the claim is: Check all that
                                                   apply.
        Los Angeles, CA                             Contingent
        90024-3881
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         5/20/2016                   Last 4 digits of account number


        Deschutes County
 2.4                                                                                                               $5,000.00       $12,000,000.00             $0.00
        Treasurer                                  Describe the property that secures the claim:
        Creditor's Name
                                                   66876 Gist Road Bend, OR 97703
                                                   Deschutes County
                                                   As of the date you file, the claim is: Check all that
        1300 NW Wall St., #204                     apply.
        Bend, OR 97701                              Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2014 - 2015                 Last 4 digits of account number        7186

 2.5    Ford Motor Credit                          Describe the property that secures the claim:                 $16,911.00           $20,000.00              $0.00
        Creditor's Name
                                                   2013 Ford Fusion

        Po Box 62180
                                                   As of the date you file, the claim is: Check all that
        Colorado Springs, CO                       apply.
        80962                                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)

Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 4
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 Debtor 1 Russel Dennis Hiles, III                                                                         Case number (if know)   6:16-bk-16877-WJ
              First Name                  Middle Name                     Last Name


  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

                                Opened
                                11/13 Last
                                Active
 Date debt was incurred         6/24/16                     Last 4 digits of account number        3833


 2.6    Franchise Tax Board                        Describe the property that secures the claim:              $1,369,572.62        $2,750,000.00         $74,674.62
        Creditor's Name                            155 Metate Place Palm Desert, CA
        Attn-Bankruptcy                            92260 Riverside County
        PO Box 2952                                As of the date you file, the claim is: Check all that
        Sacramento, CA                             apply.
        95812-2952                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2014, 2011                  Last 4 digits of account number        4427

 2.7    Mb Fin Svcs                                Describe the property that secures the claim:                 $27,451.00           Unknown             Unknown
        Creditor's Name
                                                   2015 Mercedes Benz 400SL
                                                   Leased vehicle
        36455 Corporate Dr
                                                   As of the date you file, the claim is: Check all that
        Farmington Hills, MI                       apply.
        48331                                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

                                Opened
                                3/27/15
                                Last Active
 Date debt was incurred         6/20/16                     Last 4 digits of account number        8001



   Add the dollar value of your entries in Column A on this page. Write that number here:                             $3,657,170.62
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                            $3,657,170.62

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 4
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 Debtor 1 Russel Dennis Hiles, III                                                        Case number (if know)          6:16-bk-16877-WJ
              First Name                Middle Name                  Last Name



        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.4
        Deschutes County Assessor
        PO Box 6005                                                                Last 4 digits of account number
        Bend, OR 97708

        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.6
        Franchise Tax Board
        PO Box 942867                                                              Last 4 digits of account number   4427
        Sacramento, CA 94267

        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.6
        Franchise Tax Board
        Vehicle Registration Collections                                           Last 4 digits of account number   2015
        PO Box 419001
        Rancho Cordova, CA 95741-9091




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                   Russel Dennis Hiles, III
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           6:16-bk-16877-WJ
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
 2.1          Cindy Ellen Hiles                                      Last 4 digits of account number                        $48,000.00        $48,000.00                    $0.00
              Priority Creditor's Name
                                                                                                           January, 2016 through
              13327 Atwater Lane                                     When was the debt incurred?           the present
              Lake Oswego, OR 97034
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:
         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Spousal support




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 17
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 Debtor 1 Russel Dennis Hiles, III                                                                           Case number (if know)       6:16-bk-16877-WJ

          County of Los Angeles-Treas. &
 2.2      Tax                                                        Last 4 digits of account number     6760                $2,072.14       $2,072.14               $0.00
          Priority Creditor's Name
          PO Box 514818                                              When was the debt incurred?         2015
          Los Angeles, CA 90051-4818
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
        Debtor 1 only                                                Unliquidated
        Debtor 2 only                                                Disputed
        Debtor 1 and Debtor 2 only                                  Type of PRIORITY unsecured claim:

        At least one of the debtors and another                      Domestic support obligations
        Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
        No                                                           Other. Specify
        Yes                                                                             Property taxes re Hiles Borgeson LLP

          County of San Diego - Tax
 2.3      Collector                                                  Last 4 digits of account number                         $4,000.00       $4,000.00               $0.00
          Priority Creditor's Name
          1600 Pacific Hwy., Rm. 162                                 When was the debt incurred?         2014 - 2015
          San Diego, CA 92101-2474
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
        Debtor 1 only                                                Unliquidated
        Debtor 2 only                                                Disputed
        Debtor 1 and Debtor 2 only                                  Type of PRIORITY unsecured claim:

        At least one of the debtors and another                      Domestic support obligations
        Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
        No                                                           Other. Specify
        Yes

                                                                                                                          $4,159,082.      $4,159,082.1
 2.4      Internal Revenue Service                                   Last 4 digits of account number     7186                     14                  4              $0.00
          Priority Creditor's Name
          PO Box 145566                                              When was the debt incurred?         2014
          Cincinnati, OH 45250-5566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.
                                                                      Contingent
        Debtor 1 only                                                Unliquidated
        Debtor 2 only                                                Disputed
        Debtor 1 and Debtor 2 only                                  Type of PRIORITY unsecured claim:
        At least one of the debtors and another                      Domestic support obligations
        Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
        No                                                           Other. Specify
        Yes                                                                             Taxes




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 17
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 Debtor 1 Russel Dennis Hiles, III                                                                           Case number (if know)           6:16-bk-16877-WJ

 2.5        State Board of Equalization                              Last 4 digits of account number     0455               $32,240.00             $32,240.00                    $0.00
            Priority Creditor's Name
            Account Information Group, MIC:                          When was the debt incurred?         2015
            29
            PO Box 942879
            Sacramento, CA 94279-0001
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Consumer Use Tax, Vessels

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Allied Public Storage                                      Last 4 digits of account number                                                                    $1,100.00
            Nonpriority Creditor's Name
            11259 W. Olympic Blvd                                      When was the debt incurred?
             WA 99064
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

             Debtor 1 only                                             Contingent
             Debtor 2 only                                             Unliquidated
             Debtor 1 and Debtor 2 only                                Disputed
             At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                    Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                       Other. Specify




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 4.2      Amex                                                       Last 4 digits of account number       7963                                           $30,590.00
          Nonpriority Creditor's Name
          Correspondence                                                                                   Opened 08/74 Last Active
          Po Box 981540                                              When was the debt incurred?           7/03/16
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.3      Amex                                                       Last 4 digits of account number       3033                                            $4,959.00
          Nonpriority Creditor's Name
          Correspondence                                                                                   Opened 07/74 Last Active
          Po Box 981540                                              When was the debt incurred?           7/15/16
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.4      Amex                                                       Last 4 digits of account number       7963                                            Unknown
          Nonpriority Creditor's Name
          Correspondence                                                                                   Opened 8/18/74 Last Active
          Po Box 981540                                              When was the debt incurred?           05/08
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card




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 4.5      Bank Of America                                            Last 4 digits of account number       6765                                            $1,462.00
          Nonpriority Creditor's Name
          Nc4-105-03-14                                                                                    Opened 05/03 Last Active
          Po Box 26012                                               When was the debt incurred?           4/12/16
          Greensboro, NC 27410
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.6      Bank Of The West                                           Last 4 digits of account number       2035                                            $2,000.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/12 Last Active
          2527 Camino Ramon                                          When was the debt incurred?           3/14/16
          San Ramon, CA 94583
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Potential deficiency - Recreational


 4.7      Barclays Bank Delaware                                     Last 4 digits of account number       6314                                           $51,896.00
          Nonpriority Creditor's Name
                                                                                                           Opened 03/14 Last Active
          Po Box 8801                                                When was the debt incurred?           4/12/16
          Wilmington, DE 19899
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card




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          Bighorn Golf Club-Clubhouse
 4.8      Project                                                    Last 4 digits of account number       6179                                           $40,600.00
          Nonpriority Creditor's Name
          255 Palowet Dr.                                            When was the debt incurred?
          Palm Desert, CA 92260
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Member fees


 4.9      Bighorn Homeowners Assn.                                   Last 4 digits of account number       0155                                            $7,513.13
          Nonpriority Creditor's Name
          255 Palowet                                                When was the debt incurred?
          Palm Desert, CA 92260
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     HOA dues


 4.1
 0        Central Electric Cooperative, Inc.                         Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 846                                                 When was the debt incurred?
          Redmond, OR 97756
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Utility




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 4.1
 1        Chase Card Services                                        Last 4 digits of account number       8144                                           $38,540.00
          Nonpriority Creditor's Name
          Attn: Correspondence Dept                                                                        Opened 09/00 Last Active
          Po Box 15298                                               When was the debt incurred?           7/05/16
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.1
 2        Christopher T. Borgeson                                    Last 4 digits of account number                                                   $1,700,000.00
          Nonpriority Creditor's Name
          2150 Ladera Rd.                                            When was the debt incurred?           2015 - 2016
          Ojai, CA 93023
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                      Contingent
           Debtor 1 only
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
                                                                      Student loans
           Check if this claim is for a community
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Partial summary judgment


 4.1
 3        Citi                                                       Last 4 digits of account number       6418                                           $11,215.00
          Nonpriority Creditor's Name
          Citicorp Cr Srvs/Centralized                                                                     Opened 03/92 Last Active
          Bankruptcy                                                 When was the debt incurred?           6/27/16
          Po Box 790040
          S Louis, MO 63129
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card




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 4.1
 4        Cranfill, Sumner & Hartzog                                 Last 4 digits of account number                                                      $47,648.47
          Nonpriority Creditor's Name
          PO Box 27808                                               When was the debt incurred?           2016
          Raleigh, NC 27611-7808
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Legal fees


 4.1
 5        De Castro West, et al.                                     Last 4 digits of account number       9875                                           $67,568.10
          Nonpriority Creditor's Name
          10960 Wilshire Blvd., 14th Fl.                             When was the debt incurred?
          Los Angeles, CA 90024-3881
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Legal fees


 4.1
 6        Eisenhower Medical Center                                  Last 4 digits of account number                                                       $1,500.00
          Nonpriority Creditor's Name
          39000 Bob Hope Drive                                       When was the debt incurred?           2015
          Rancho Mirage, CA 92270
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Medical




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 4.1
 7        Farmer's Insurance Co.                                     Last 4 digits of account number                                                   $5,500,000.00
          Nonpriority Creditor's Name
          Attn: Doren E. Hohl, Agent                                 When was the debt incurred?           2016
          6301 Owensmouth Ave.
          Woodland Hills, CA 91367-7000
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Arbitration award


 4.1
 8        Katz Cassidy                                               Last 4 digits of account number       1358                                            $2,561.60
          Nonpriority Creditor's Name
          11400 W. Olympic Blvd., #1050                              When was the debt incurred?
          Los Angeles, CA 90064
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Accounting


 4.1
 9        Keybank NA                                                 Last 4 digits of account number       0607                                            $8,228.40
          Nonpriority Creditor's Name
          Attn: Recovery Payment Pr                                                                        Opened 06/07 Last Active
          4910 Tiedeman Rd (Rtg Code:                                When was the debt incurred?           5/05/16
          08-01-
          Brooklyn, OH 44144
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          For notice purposes only
                                                                                          Potential deficiency following repossession
           Yes                                                       Other. Specify     of 46' Beneteau




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 4.2
 0        Law Offices of Ryneal & Ryneal                             Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          3890 11th Street, Ste. 116                                 When was the debt incurred?
          Riverside, CA 92501
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Legal fees


 4.2
 1        Law Offices of Wm. A. Brown, Jr.                           Last 4 digits of account number       0718                                            Unknown
          Nonpriority Creditor's Name
          865 Figueroa St., #2640                                    When was the debt incurred?
          Los Angeles, CA 90017-5472
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          For notice purposes only
           Yes                                                       Other. Specify     re LA Collection Svc v Hiles, et al.

 4.2
 2        Loma Linda Medical Center                                  Last 4 digits of account number                                                       $1,500.00
          Nonpriority Creditor's Name
          11234 Anderson St.                                         When was the debt incurred?           2015
          Loma Linda, CA 92354
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Medical




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 4.2
 3        Los Angeles Collection Service Inc.                        Last 4 digits of account number                                                      $13,779.10
          Nonpriority Creditor's Name
          2140 Westwood Blvd., Ste. 222                              When was the debt incurred?           2016
          Los Angeles, CA 90025
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Legal fees


 4.2
 4        Master Card                                                Last 4 digits of account number       6314                                            Unknown
          Nonpriority Creditor's Name
          837 3rd St.                                                When was the debt incurred?           2016
          Santa Monica, CA 90403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card


 4.2
 5        Mb Fin Svcs                                                Last 4 digits of account number       5001                                            $3,332.00
          Nonpriority Creditor's Name
                                                                                                           Opened 4/11/13 Last Active
          36455 Corporate Dr                                         When was the debt incurred?           3/04/16
          Farmington Hills, MI 48331
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Auto Lease




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 4.2
 6        Paychex                                                    Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          c/o CT Corporation System                                  When was the debt incurred?
          818 West Seventh St. Ste. 930
          Los Angeles, CA 90017
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.2
 7        Porsche Financial Srvc                                     Last 4 digits of account number       4902                                            $1,912.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/30/11 Last Active
          980 Hammond Dr                                             When was the debt incurred?           2/23/15
          Atlanta, GA 30328
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Auto Lease costs


 4.2
 8        Public Storage                                             Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          11259 W. Olympic Blvd.                                     When was the debt incurred?
          Los Angeles, CA 90064
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify




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 4.2
 9        Riverside County Assessor-Clerk                            Last 4 digits of account number       0156                                            Unknown
          Nonpriority Creditor's Name
          PO Box 751                                                 When was the debt incurred?
          Riverside, CA 92502-0751
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     For notice purposes only


 4.3
 0        Riverside County Tax Collector                             Last 4 digits of account number       0156                                            Unknown
          Nonpriority Creditor's Name
          Box 12005                                                  When was the debt incurred?
          Riverside, CA 92502-2205
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     For notice purposes only


 4.3
 1        San Diego County Treasurer-Tax                             Last 4 digits of account number       0559                                            Unknown
          Nonpriority Creditor's Name
          1600 Pacific Hwy., Rm. 162                                 When was the debt incurred?
          San Diego, CA 92101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     For notice purposes only (vessel)




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 4.3
 2        State Board of Equalization                                Last 4 digits of account number                                                       $3,523.32
          Nonpriority Creditor's Name
          PO Box 942879                                              When was the debt incurred?
          Sacramento, CA 94279
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     taxes


 4.3
 3        Suntrust Mortgage/cc 5                                     Last 4 digits of account number       4069                                            Unknown
          Nonpriority Creditor's Name
          Attn:Bankruptcy Dept                                                                             Opened 04/14 Last Active
          1001 Semmes Ave Va-Wmrk-7952                               When was the debt incurred?           2/11/16
          Richmond, VA 23224
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          For notice purposes only
                                                                                          Potential deficiency following reposession
           Yes                                                       Other. Specify     of 54' Beneteau


 4.3      VCA Rancho Mirage Animal
 4        Hospital                                                   Last 4 digits of account number       8727                                            $1,778.15
          Nonpriority Creditor's Name
          71-075 Hwy. 111                                            When was the debt incurred?           2016
          Rancho Mirage, CA 92270-4122
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Animal expense




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 4.3
 5         Veritext Century Reporters                                Last 4 digits of account number                                                            $10,803.76
           Nonpriority Creditor's Name
           707 Wilshire Blvd.                                        When was the debt incurred?
           Suite 3500
           Los Angeles, CA 90017
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Court Reporter Services:
                                                                                          Five (5) Invoices: Inv #CA2526472;
                                                                                          CA2529460; CA2531437; CA2531520 &
            Yes                                                      Other. Specify     CA1533715

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of the West                                              Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 2527 Camino Ramon                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 5172
 San Ramon, CA 94583-5172
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bighorn Clubhouse Project, MSC                                Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 614                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 52163
 Phoenix, AZ 85072
                                                               Last 4 digits of account number                 6179

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bighorn Homeowners Assn MSC                                   Line 4.9 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 855                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 29048
 Phoenix, AZ 85038
                                                               Last 4 digits of account number                 0155

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Farmers Insruance Comapny, Inc.                               Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 c/o Stoel Rives LLP                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 760 SW Ninth Ave. Ste. 3000
 Portland, OR 97205-2584
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Farmers Insurance Comapny, Inc.                               Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 Attn: Doren E. Hohl, Agent                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 6301 Owensmouth Ave.
 Woodland Hills, CA 91367-7000
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Farmers Insurance Company, Inc.                               Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 2450                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Rapids, MI 49501-2450
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                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Farmers Insurance Exchange                                    Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 6301 Owensmouth Avenue                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Woodland Hills, CA 91367
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Farmers Insurance Exchange                                    Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 c/o Norton Rose Fulbright                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Attn: Peter Mason & Joshua
 Lichtman
 555 Sourth Flower Street
 Los Angeles, CA 90071
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Internal Revenue Service                                      Line 2.4 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 7346                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Philadelphia, PA 19101-7346
                                                               Last 4 digits of account number                    7186

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Internal Revenue Service                                      Line 2.4 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 225 W. Broadway, Ste. 200                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Glendale, CA 91204-1345
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Internal Revenue Service                                      Line 2.4 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1973 N. Rulon White Blvd.                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Ogden, UT 84201-0021
                                                               Last 4 digits of account number                    7186

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 KeyBank                                                       Line 4.19 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 94722                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44101-4722
                                                               Last 4 digits of account number                    0607

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mercedes Benz Fin'l Svcs                                      Line 4.25 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 PO Box 685                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Roanoke, TX 76262
                                                               Last 4 digits of account number                    8001

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Michael & Associates, PC                                      Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 555 St. Charles Dr., Ste. 204                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Thousand Oaks, CA 91360
                                                               Last 4 digits of account number                    0757

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Michael & Associates, PC                                      Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 555 St. Charles Dr., Ste. 204                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Thousand Oaks, CA 91360
                                                               Last 4 digits of account number                    0762

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                    48,000.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                4,197,394.28
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $

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                                                                                                                                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.      $             4,245,394.28

                                                                                                                          Total Claim
                        6f.   Student loans                                                              6f.      $                     0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount       6i.
                              here.                                                                               $             7,554,010.03

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                6j.      $             7,554,010.03




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 Fill in this information to identify your case:

 Debtor 1                Russel Dennis Hiles, III
                         First Name                         Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name          Last Name


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 (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      Mercedes Benz Financial Services                                        Auto lease
              PO Box 17466
              Baltimore, MD 21297-1496

     2.2      Public Storage                                                          Storage lease
              72150 Fred Waring Drive
              Palm Desert, CA 92260




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Russel Dennis Hiles, III
                            First Name                           Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name         Last Name


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 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                           12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                 Yes.

                       In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                       Name of your spouse, former spouse, or legal equivalent
                       Number, Street, City, State & Zip Code


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         Hiles Borgeson, LLP                                                                   Schedule D, line
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G




Official Form 106H                                                               Schedule H: Your Codebtors                                      Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Russel Dennis Hiles, III

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number               6:16-bk-16877-WJ                                                               Check if this is:
(If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                                Not employed
       employers.
                                             Occupation            Retired                                      Self-employed attorney
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                    N/A

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $            0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                    page 1
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Debtor 1    Russel Dennis Hiles, III                                                              Case number (if known)    6:16-bk-16877-WJ


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $                0.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $                0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $                0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $                0.00
      5e.    Insurance                                                                     5e.        $              0.00     $                0.00
      5f.    Domestic support obligations                                                  5f.        $              0.00     $                0.00
      5g.    Union dues                                                                    5g.        $              0.00     $                0.00
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $        1,658.00
      8b. Interest and dividends                                                           8b.        $              0.00     $            0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $          0.00         $                0.00
      8d. Unemployment compensation                                                        8d.        $          0.00         $                0.00
      8e. Social Security                                                                  8e.        $      3,100.00         $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                  0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                  0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                  0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          3,100.00         $           1,658.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              3,100.00 + $         1,658.00 = $           4,758.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.    $          4,758.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
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Fill in this information to identify your case:

Debtor 1                Russel Dennis Hiles, III                                                           Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

Case number           6:16-bk-16877-WJ
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                           Yes.   Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’s
                                                                                                                        age
                                                                                                                                        Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            Melanie Roe                                           Yes
                                                                                                                                         No
                                                                                   Stepdaughter                         12               Yes
                                                                                                                                         No
                                                                                                                                         Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                  No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             7,600.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                           3,100.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                           2,078.50
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             625.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                           2,500.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Russel Dennis Hiles, III                                                                  Case number (if known)      6:16-bk-16877-WJ

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                              3,000.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                600.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                400.00
      6d. Other. Specify: Electric - OR                                                      6d. $                                              1,500.00
7.    Food and housekeeping supplies                                                           7. $                                             3,000.00
8.    Childcare and children’s education costs                                                 8. $                                             1,000.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               400.00
10.   Personal care products and services                                                    10. $                                                 50.00
11.   Medical and dental expenses                                                            11. $                                                500.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 200.00
14.   Charitable contributions and religious donations                                       14. $                                                 400.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   0.00
      15b. Health insurance                                                                15b. $                                               3,279.00
      15c. Vehicle insurance                                                               15c. $                                                 500.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                               1,440.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                 950.00
      17c. Other. Specify:                                                                 17c. $                                                   0.00
      17d. Other. Specify:                                                                 17d. $                                                   0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                              6,000.00
19.   Other payments you make to support others who do not live with you.                         $                                                 0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                               7,300.00
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                 500.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:    Public Storage                                                      21. +$                                               276.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      47,698.50
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      47,698.50
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,758.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             47,698.50

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                            -42,940.50

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                  Russel Dennis Hiles, III
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           6:16-bk-16877-WJ
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
        Not married
2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
        Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                               Dates Debtor 2
                                                                lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

        No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)

 From January 1 of current year until               Wages, commissions,                               $0.00        Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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 Debtor 1      Russel Dennis Hiles, III                                                                    Case number (if known)   6:16-bk-16877-WJ


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                            Wages, commissions,                          $2,000.00         Wages, commissions,
 (January 1 to December 31, 2015 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business

 For the calendar year before that:                 Wages, commissions,                    $9,095,224.00           Wages, commissions,
 (January 1 to December 31, 2014 )                 bonuses, tips                                                   bonuses, tips

                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       No
           Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until SSI Benefits                                              $21,700.00
 the date you filed for bankruptcy:

 For the calendar year before that:                Capital Gains or Loss                        $56,402.00
 (January 1 to December 31, 2014 )


                                                   SSI Benefits                                 $33,174.00


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                      No.         Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

       Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No.         Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1      Russel Dennis Hiles, III                                                                    Case number (if known)   6:16-bk-16877-WJ


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Anthem Blue Cross                                        5/31/2016                       $6,579.60                 $0.00      Mortgage
       Small Group Business                                                                                                          Car
       PO Box 54630                                                                                                                  Credit Card
       Los Angeles, CA 90054-0630                                                                                                    Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     OtherHealth insurance
                                                                                                                                    premiums


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
       Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

       No
           Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Farmers Ins. v. Russel Hiles, Hiles                      Collection matter           Circuit Ct. of Oregon,                     Pending
       Borgeson, et al.                                                                     Deschutes County                         On appeal
       16CV20120                                                                            1100 NW Bond Street
                                                                                                                                     Concluded
                                                                                            Bend, OR 97701

       Los Angeles Collection Services,                         Breach of contract          Riverside Superior Court                   Pending
       Inc. v. Russel D. Hiles, III, et al.                                                 Palms Springs Branch                     On appeal
       Riverside Superior Court, Palm                                                       47671 Oasis Street
                                                                                                                                     Concluded
       Springs Courthouse                                                                   Indio, CA 92201
       PSC1600718

       Cranfill, Sumner & Hartzog, LLP v.                       Breach of contract          North Caroline Superior                    Pending
       Russell Hiles et al.                                                                 Court                                    On appeal
       Superior Court, Wake County,                                                         316 Fayetteville St.
                                                                                                                                     Concluded
       North Carolia                                                                        Raleigh, NC 27601
       16CV006023




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 Debtor 1      Russel Dennis Hiles, III                                                                    Case number (if known)    6:16-bk-16877-WJ


       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Farmers Insurance Exchange v.                            Arbitration                 American Arbitration                         Pending
       Russel D. Hiles & Hiles Borgeson,                        proceeding                  Association                               On appeal
       LLP.                                                                                 One Sansome Street, Suite
                                                                                                                                      Concluded
       01-14-0002-3063                                                                      1600
                                                                                            San Francisco, CA 94104
                                                                                                                                     Award entered, not
                                                                                                                                     confirmed.

       Christopher T. Borgeson v. Russel                        Breach of contract          Superior Court of                            Pending
       Hiles                                                                                California- LA County                     On appeal
       EC 063928                                                                            300 East Olive
                                                                                                                                      Concluded
                                                                                            Burbank, CA 91502


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

       No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened
       KeyBank National Association                             2006 Beneteau First 44.7 (boat)                               7/13/2016                    Unknown
       11501 Outlook Street
       Suite 300                                                 Property was repossessed.
       Overland Park, KS 66211                                   Property was foreclosed.
                                                                 Property was garnished.
                                                                 Property was attached, seized or levied.

       SunTrust Bank                                            Beneteau boat                                                 Summer, 2016                 Unknown
       1001 Semmens Ave
       Richmond, VA 23224                                        Property was repossessed.
                                                                 Property was foreclosed.
                                                                 Property was garnished.
                                                                 Property was attached, seized or levied.

       Bank of the West                                         2013 Tiffin Motorhome                                         June 2016                    Unknown
       PO Box 2078
       Omaha, NE 68103-2078                                      Property was repossessed.
                                                                 Property was foreclosed.
                                                                 Property was garnished.
                                                                 Property was attached, seized or levied.

       Franchise Tax Board                                      155 Metate Place, Palm Desert, CA 92260                       June, 2016             $1,369,572.62
       Attn-Bankruptcy
       PO Box 2952                                               Property was repossessed.
       Sacramento, CA 95812-2952                                 Property was foreclosed.
                                                                 Property was garnished.
                                                                 Property was attached, seized or levied.




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       Creditor Name and Address                                Describe the Property                                         Date                   Value of the
                                                                                                                                                        property
                                                                Explain what happened
       State Board of Equalization                              $30,000                                                       July 18, 2016          $30,000.00
       PO Box 942879
       Sacramento, CA 94279-0095                                 Property was repossessed.
                                                                 Property was foreclosed.
                                                                 Property was garnished.
                                                                 Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
       Yes
 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:
       St. Francis Catholic Church                                   Donation                                                                           $1,200.00


       Person's relationship to you:

       Bill Fleischhacher                                            Print copy of the book Ulysses by                        June 10, 2016             $4,000.00
       12350 Dancliff Terrace                                        James Joyce.
       Alpharetta, GA 30009

       Person's relationship to you: Friend


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
       Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)




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 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
       Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Goe & Forsythe, LLP                                           $12,000 (including filing fee)                           7/7/2016                $12,000.00
       18101 Von Karman Ave., Ste 1200
       Palm Desert, CA 92260
       rgoe@goeforlaw.com
       Melanie N. Roe


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
     No
           Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Michael Ludeman                                               4600 Toro Mower, Model                     Payment for services            July 10, 2016
       Tumalo Garden Market                                          30411                                      and for goods.
       Bend, OR 97701

       None




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       Person Who Received Transfer                                  Description and value of                   Describe any property or      Date transfer was
       Address                                                       property transferred                       payments received or debts    made
                                                                                                                paid in exchange
       Person's relationship to you
       The Estate Sale Company (consignor)                           Baby grand piano - sold                    38% commission to             see above
       4185 East Canyon Drive                                        1/22/2016 for $3,000                       consignor
       Palm Springs, CA 92264                                        Black leather sofa - sold
                                                                     1/17/2016 for $700
       None                                                          Dark wood table and chairs-
                                                                     sold 2/28/2016 for $400
                                                                     Wood dresser and armoire-
                                                                     sold 1/17/2016 for $350

       Melanie Nel Roe                                               155 Metate Place, Palm                                                   5/5/2015(deed
       155 Metate Place                                              Desert, CA 92260 (Property                                               not recorded
       Palm Desert, CA 92260                                         transferred to Debtor's wife                                             until 5/18/2016)
                                                                     in May, 2015. Transfer deed
       Wife                                                          recorded in May, 2016.
                                                                     Subsequently, title was
                                                                     transferred back to Debtor
                                                                     and is vested solely in
                                                                     Debtor.)

       Shaodong Luan                                                 Real property                              $975K (net proceeds to        January, 2016
       2220 Avenue of the Starts, Ste. 705                           2220 Avenue of the Stars, LA               Debtor of $107K after
       Los Angeles, CA 90067                                         90067                                      payment of
                                                                                                                encumbrances and
       None                                                                                                     transactional costs)

       Brandan Dawson                                                Defender 90                                $65,000                       March, 2016
       149 Wikil Place
       Palm Desert, CA 92260

       None

       Mercedes Benz of Palm                                         Mercedes G Wagon                           $65,0000                      June, 2016
       4095 E. Palm Canyon Dr.
       Palm Springs, CA 92264

       None


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                        Date Transfer was
                                                                                                                                              made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
     No
           Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was           Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,          before closing or
       Code)                                                                                                            moved, or                       transfer
                                                                                                                        transferred



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       Name of Financial Institution and                        Last 4 digits of              Type of account or        Date account was            Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred
       Bank of America                                          XXXX-                          Checking                April 2015                           $0.00
                                                                                               Savings
                                                                                               Money Market
                                                                                               Brokerage
                                                                                              
                                                                                              Other Personal/cli
                                                                                              ent trust &
                                                                                              operating
                                                                                              accounts

       JP Morgan Chase Bank                                     XXXX-                          Checking                                                     $0.00
       PO Box 183164                                                                           Savings
       Columbus, OH 43218
                                                                                               Money Market
                                                                                               Brokerage
                                                                                               Other

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
       Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                              have it?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

       No
           Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                      have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Public Storage                                                Debtor & his wife.                     500-600 copies of Debtor's            No
       72510 Fred Waring Drive                                                                              book entitled "We are One. A          Yes
       Palm Desert, CA 92260                                                                                Photographic Celebration of
                                                                                                            Diversity in America"; holiday
                                                                                                            decorations.


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

       No
           Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Villa Melrose                                                 66876 Gist Road                        Furniture and antiques staged           $350,000.00
       6061 W. 3rd Street                                            Bend, OR 97703                         for marketing and selling
       Los Angeles, CA 90036                                                                                purposes




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 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
       Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
       No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                  Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Hiles & Associates, Inc.                                 d/b/a Hiles Borgeson, LLP                            EIN:       XXX-XX-7186
       330 N. Brand Blvd., Ste. 820                             Third party administrator and law
       Glendale, CA 91203                                       firm                                                 From-To    11/2006 through the present

                                                                Neal Katz, CPA; Katz Cassidy


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28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
       Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Russel Dennis Hiles, III
 Russel Dennis Hiles, III                                                Signature of Debtor 2
 Signature of Debtor 1

 Date      August 15, 2016                                               Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &                 FOR COURT USE ONLY
Email Address
Robert P. Goe
18101 Von Karman Avenue
Suite 1200
Irvine, CA 92612-7127
(949) 798-2460 Fax: (949) 955-9437
137019




     Individual appearing without attorney
     Attorney for Movant
                                                      UNITED STATES BANKRUPTCY COURT
                                                       CENTRAL DISTRICT OF CALIFORNIA
In re:
                                                                                       CASE NO.: 6:16-bk-16877-WJ
              Russel Dennis Hiles, III
                                                                                       CHAPTER: 11

                                                                                              DECLARATION BY DEBTOR(S)
                                                                                         AS TO WHETHER INCOME WAS RECEIVED
                                                                                         FROM AN EMPLOYER WITHIN 60 DAYS OF
                                                                                                   THE PETITION DATE
                                                                                                [11 U.S.C. § 521(a)(1)(B)(iv)]
                                                                     Debtor(s).                                     [No hearing Required]

Debtor(s) provides the following declaration(s) as to whether income was received from an employer within 60 days of the
Debtor(s) filing this bankruptcy case (Petition Date), as required by 11 U.S.C. § 521(a)(1)(B)(iv):

Declaration of Debtor 1

1.       I am Debtor 1 in this case, and I declare under penalty of perjury that the following information is true and correct:

           During the 60-day period before the Petition Date (Check only ONE box below):

              I was paid by an employer. Attached are copies of all statements of earnings, pay stubs, or other proof of
             employment income I received from my employer during this 60-day period. (If the Debtor’s social security
             number or bank account is on a pay stub or other proof of income, the Debtor must cross out (redact) the
             number(s) before filing this declaration.)

            X I was not paid by an employer because I was either self-employed only, or not employed.

Date:       August 15, 2016                                 Russel Dennis Hiles, III                                    /s/ Russel Dennis Hiles, III
                                                            Printed name of Debtor 1                                    Signature of Debtor 1




                    This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
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Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
State Bar No. & Email Address
Robert P. Goe
18101 Von Karman Avenue
Suite 1200
Irvine, CA 92612-7127
(949) 798-2460 Fax: (949) 955-9437
California State Bar Number: 137019




 Debtor(s) appearing without an attorney
 Attorney for Debtor

                                                    UNITED STATES BANKRUPTCY COURT
                                                     CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                   CASE NO.: 6:16-bk-16877-WJ
            Russel Dennis Hiles, III
                                                                                   CHAPTER: 11




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                    [LBR 1007-1(a)]

                                                               Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 8 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: August 15, 2016                                                                     /s/ Russel Dennis Hiles, III
                                                                                          Siganture of Debtor 1

Date:
                                                                                          Signature of Debtor 2 (joint debtor) ) (if applicable)

Date: August 15, 2016                                                                     /s/ Robert P. Goe
                                                                                          Signature of Attorney for Debtor (if applicable)




                   This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                       F 1007-1.MAILING.LIST.VERIFICATION
